      NEELEMAN LAW GROUP                                              The Honorable Marc Barreca
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 2
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 4                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 5
                                                     : Case No.: 23-11919
 6   In re:                                          :
                                                     : DECLARATION OF JOSHUA
 7   HWC BURBS BUGERS, LLC                           : HENDERSON
                                                     :
 8            Debtor-in-Possession.                  :
                                                     :
 9                                                   :
                                                     :
10                                                   :
11
              I, Joshua Henderson, declare under penalty of perjury the following:
12

13            1)     The Company, HSC Burbs Burgers, LLC (herein “Burbs”), filed a petition under

14                   Chapter 11, Subchapter V on October 9, 2023 (herein the “Petition Date”). The

15                   Debtor is operating its business and managing its affairs as a debtor-in-possession
16                   under 11 U.S.C. §§ 1107 and 1108.
17
              2      Burbs opened its first location at Pioneer Square in 2020, in restaurant space
18
                     previously occupied by Quality Athletics at 121 King Street Seattle, WA.
19
              3      The initial location was followed by the opening of a food truck operation at 2010
20
                     E. Roanoke Street, Seattle WA 98112 which opened in 2020, a Ballard location
21

22                   at 5101 14th Ave., NW Seattle WA 98107 opened in 2022 and a Georgetown

23                   location at 5925 Airport Way South, also opened in 2022.

24            4      In June 2023 Burbs opened its Bellevue location located at 400 Bellevue Way,
25
                     NE, Bellevue WA,
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                                                      1




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         5    Burbs serves a menu of simple, unique menu of sandwiches items including
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 2
              “Smash Burgers,” Chicken Sandwiches, gourmet Hot Dogs and various side

 3            dishes.

 4       6    The Burbs concept originated when owner Josh Henderson sought to downsize
 5            and simplify his large operation to focus the simple Burb’s concept.
 6
         7    The COVID pandemic had a severe impact on Burb’s revenue. To rebound from
 7
              the impact of COVID Burb’s sought to establish additional locations to grow its
 8
              way to profitability. Between 2021 and 2023, Burb’s obtained financing at less
 9
              than favorable interest rates and fell behind on Department of Revenue
10

11            obligations. Facing mounting collection pressure from creditors, Burbs filed for

12            protection under Chapter 11, Subchapter V, in order to remain in business.

13       8    That currently Burbs employs the following individuals in the positions and at the
14
              wage rates referenced below:
15
               Name                       Title                       Rate/hour
16
               Seth Richardson            Manager                     $12,083.00 mo.
17             Brandy Bowling             Bartender                   $20.00 hr.
               Rosario Galindo            Shift Manager               $7,250.00 mo.
18             Andrew Greene              Bartender                   $16.50 hr.
               Eduardo Lopez              Cashier                     $24.50 hr.
19             Carlos Morales             Cook                        $24.00 hr.
20
               Edgar Morales              Cook                        $21.50 hr.
               Daniel Portillo            Cook                        $19.00 hr.
21             Richard Ramirez            Bartender                   $20.00 hr.
               Margarito Martinez         Cook                        $21.00 hr.
22             Alexei Rodriguez           Cashier                     $18.69 hr.
               Esli Sanchez-Martinez      Cook                        $24.50 hr.
23
               Milton Sanchez-            Cook                        $24.50 hr.
24             Martinez
               Alexander Skalatsky        Bartender                   $16.50 hr.
25             Anh Tran                   Cook                        $23.00 hr.
               Selvin Ventura             Cook                        $19.50 hr.
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               Brendan Lacy              Cashier                 $21.50 hr.
 1
               Jordyn Pecoraro           Bartender               $16.50 hr.
 2             Qunitin Sweeney           Bartender               $16.50 hr.
               Alejandro Cruz Vargas     Cook                    $20.50 hr.
 3             Ana Milla Arriaga         Cook                    $19.00 hr.
               Carlos Cortes             Cook                    $19.00 hr.
 4             Rose Honeyman             Cashier                 $24.00 hr.
 5
               Berain Gutierrez          Manager                 $9,166.00 mo.
               Jimmy Salgado             Bartender               $16.50 hr.
 6             Manuel Duran              Cook                    $19.00 hr.
               Christian Santillan       Cook                    $19.00 hr.
 7             Jesus Cano Valle          Cook                    $19.00 hr.
               Jose Antonio Aguilar      Cook                    $19.00 hr.
 8
               Lavariega
 9             Agustin Ruiz              Cook                    $19.00 hr.
               Maribel Ruiz Martinez     Cook                    $19.00 hr.
10             Angel Arias               Cook                    $19.00 hr.
               Alan Melendez De Los      Cashier                 $19.00 hr.
11             Santo
               Rodrigo Sanchez           Cook                    $19.00 hr.
12
               Martinesz
13             Enrique Garcia            Cook                    $19.00 hr.
               Eliel Ruiz                Cook                    $19.00 hr.
14             Joselyn Melendez De los   Cashier                 $19.00 hr.
               Santo
15
               Moises Cortez Martinez    Cook                    $19.00 hr.
16             Yoseth Cruz               Cook                    $19.00 hr.
               Marianela Caceres         Bartender               $19.00 hr.
17             Ingri Recuero             Cook                    $19.00 hr.
               Janna Holthusen           Bartender               $19.00 hr.
18             Alexandra Martinez        Cook                    $19.00 hr.
               Betsey Itzel Lopez        Cook                    $19.00 hr.
19
               Nicoles
20             Reyes Gamaliel            Cook                    $19.00 hr.
               Andres Eduardo            Cook                    $19.00 hr.
21             Palencia Jimenez
               Erika Adilia Milla        Cook                    $19.00 hr.
22             Arriaga
23
               Isai David Reyes          Cook                    $19.00 hr.
               Martinez
24             Anais Stubing             Bartender               $19.00 hr.

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         9   It is anticipated that the Company will continue to employ the same individuals in the
 1

 2
             same positions in the immediate future.

 3       10 All employes are working full time and the payroll sought to be paid on October 23,

 4           2023, will be approximately $46,890.21 for the hourly employees. See attached
 5           estimated payroll report marked as Exhibit A. An additional $13,153.84 for salaried
 6
             employees.
 7
         11 That the payroll to be paid on October 23, 2023, will not include any pre-petition
 8
             payment to myself.
 9
         12 That as of the Petition Date, the Company had funds in its business checking accounts
10

11           in the approximate amount of $0.00 and had approximately $10,519.30 in unpaid

12           credit card charges.   The debtor had non-vehicle equipment and inventory in the

13           amount of $173,500.00.
14
         13 That I have attached hereto as Exhibit B to this Declaration a 16 week estimated cash
15
             flow budget which I believe fairly estimates the anticipated inflow and outflow of the
16
             Debtor during the specified period.
17
         14 That I have attached true and correct copies of the loan documents with all secured
18
             creditors attached hereto as Exhibit C.
19

20       15 I believe that Square Financial and Kalamata Capital hold a security interest in cash

21           collateral based on the filing date of their respective UCC-1 filings and remainder of

22           the listed creditors have no interest in the Debtor’s collateral.
23
         16 As of the petition date, HWC Burbs Burgers, LLC had one checking account at
24
             BECU (herein “General Account”) (Account Number ending in 9630) and an
25
             additional account at Bank of America which is not currently being used.
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         17 To the best of my knowledge, information and belief deposits held by BECU are
 1

 2
            insured by NCUA up to the sum of $250,000.00.

 3       18 The Debtor’s Cash Management System is an integral part of its business operations.

 4          Historically, the Debtor used the BECU checking account to receive electronic
 5          payments directly from customers and make payments for payroll, food costs, and
 6
            other operating expenses from that account. Additionally, there is currently a debit
 7
            card associated the BECU checking account which historically is used to pay
 8
            expenses which required immediate payment.
 9
         19 If, at any time, the funds held in the BECU checking account exceed the sum of
10

11          $250,000.00, I will immediately sweep the BECU checking account of any funds

12          above that amount and place them in a DIP account which I intend to open at a

13          qualified bank.
14
         Dated this 18th day of October 2023.
15
                                                /s/ Joshua Henderson
16                                              Joshua Henderson
                                                Managing Member, HWC Burbs Burgers, LLC
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